Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 1 of 7 PageID #: 28089




                       UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION

 DAMONIE EARL, LINDA RUGG, ALESA            §
 BECK, TIMOTHY BLAKEY, JR.,                 §
 STEPHANIE BLAKEY, MARISA                   §
 THOMPSON, MUHAMMAD MUDDASIR                §
 KHAN, JOHN ROGERS, VALERIE                 §
 MORTZ-ROGERS, JAMES LAMORTE,               §
 BRETT NOBLE, RUBEN CASTRO, FRITZ           §
 RINGLING, LITAUN LEWIS, and LANCE          §
 HOGUE, JR., each individually and on       §
 behalf of all others similarly situated,   §   Civil Action No. 4:19-cv-00507
                                            §
       Plaintiffs,                          §
                                            §
 v.                                         §
                                            §
 THE BOEING COMPANY and                     §
 SOUTHWEST AIRLINES CO.,                    §
                                            §
       Defendants.                          §
                                            §



             DEFENDANTS’ MOTION FOR EXPEDITED BRIEFING
        ON THE MOTION TO STAY PENDING INTERLOCUTORY APPEAL
Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 2 of 7 PageID #: 28090




                                         INTRODUCTION

        Pursuant to Local Rule CV-7(e), Defendants seek an order setting an expedited briefing

schedule for Defendants’ Motion to Stay Pending Interlocutory Appeal, Dkt. No. 473 (the “Motion

to Stay”). Defendants request that this Court enter an expedited briefing schedule for the Motion

to Stay as follows: (1) Plaintiffs’ response brief in opposition to Defendants’ Motion to Stay to be

filed 7 days after the filing of the Motion to Stay; (2) Defendants’ reply brief to be filed 4 days

after the filing of the response; and (3) any sur-reply to be filed 4 days after the filing of the reply.

Plaintiffs have not specifically objected to this or any other expedited briefing schedule or provided

any reason why this schedule is unworkable. Instead, Plaintiffs have simply “taken no position”

on the request to expedite the briefing schedule. Accordingly, Defendants request that the Court

enter this expedited briefing schedule so that the Motion to Stay can be briefed and ruled on before

expansive and expensive discovery continues.

        The Fifth Circuit has already granted Defendants permission under Federal Rule of Civil

Procedure 23(f) to appeal the Court’s class certification order. See No. 21-40720 (Sept. 30, 2021).

That grant came just thirteen days after Defendants filed their petitions, and only three days after

Plaintiffs filed an answer opposing review. Then, the day after the Fifth Circuit granted the 23(f)

petitions—and 158 days after the Court’s hearing on Plaintiffs’ motion for class certification—

Plaintiffs served improper interrogatories on Defendants and a burdensome document subpoena

on non-party American Airlines. And just today, Plaintiffs noticed three more depositions for the

former CEO of Boeing and two former Boeing employees (despite having disclaimed any intent

to pursue additional depositions during the appeal). Boeing understands that Plaintiffs served a

subpoena dated the day after the Fifth Circuit granted Defendants’ petitions at the former CEO’s

home—even though Plaintiffs have long been aware that he is represented by counsel and have




                                                  -1-
Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 3 of 7 PageID #: 28091




not raised the possibility of seeking his deposition for more than seven months.

       Defendants have moved to stay further proceedings pending the Fifth Circuit’s resolution

of the appeal. But expedited briefing is needed because without it, Defendants and American

Airlines will have to expend substantial and unrecoverable resources objecting and responding to

discovery that should ultimately be stayed.

                                          ARGUMENT

       Expedited briefing on Defendants’ Motion to Stay is needed because the standard briefing

schedule is unlikely to allow resolution before Defendants must allocate extensive resources in

responding to Plaintiffs’ newly served discovery.        Plaintiffs served overbroad contention

interrogatories on Defendants and a third-party subpoena on American Airlines one day after the

Fifth Circuit granted the Rule 23(f) petitions. Dkt. 473, Ex. 1. The interrogatories seek, among

other things, “the complete legal and factual basis” for Defendants’ views on liability and damages

and details on “each instance” in which Defendants made any statement to the public or press

about the MAX’s 8 “design, development, production, testing, certification, sale, introduction,

crashes, investigations into, grounding, or redesign of the MAX 8.” Dkt. 473, Exs. 1-2.

       The current deadline for Defendants to respond to these requests is November 1, 2021.

That deadline is fast approaching, particularly given the amount of work Defendants would be

required to do to pull together this information. Defendants are still evaluating their response,

including their objections and a potential motion for protection.

       As to the subpoena, Plaintiffs served Defendants with a notice of subpoena to non-party

American Airlines at the same time Plaintiffs served the interrogatories on Defendants. Dkt. 473,

Ex. 3. The subpoena seeks documents identifying “each individual or entity (and their respective

contact information)” that bought or traveled on class flights. Plaintiffs also served Southwest




                                               -2-
Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 4 of 7 PageID #: 28092




with an interrogatory seeking the same information. Dkt. 473, Ex. 2. The Motion to Stay should

be resolved before Southwest and American have to waste resources responding to those

burdensome demands for personal identifying information for millions of potential putative class

members concerning over 200,000,000 flight segments.

       Expedited resolution of the Motion to Stay is also warranted because Plaintiffs have

suggested that more discovery requests are forthcoming. As Defendants were finalizing this

motion on October 5, Plaintiffs confirmed their intent to continue pursuing burdensome discovery

by noticing depositions for former Boeing CEO Dennis Muilenburg and two former Boeing

employees. Plaintiffs had told Defendants’ counsel that they did not intend to pursue depositions

during the pendency of the appeal, and even confirmed in response to Defendants’ inquiry that

they “are ok staying” third-party depositions.        Dkt. 473, Ex. 4.     And Plaintiffs had not

raised even the prospect of seeking Mr. Muilenburg’s deposition since February, at which

time undersigned counsel notified Plaintiffs that Mr. Muilenburg is represented by counsel

whom Plaintiffs should contact regarding any request to depose him. Yet Boeing understands that

Plaintiffs without notice served that subpoena—dated the day after the Fifth Circuit granted

Defendants’ petitions—at Mr. Muilenburg’s home.

       In conferring with Defendants on the Motion to Stay, Plaintiffs indicated that they are

amenable only to a so-called “limited stay” that does not cover (1) interrogatories and requests for

admissions; (2) document issues and production, including any motions to compel under Rule 37

and any forensic review as necessary; (3) the substantial completion of document production and

certification that Defendants have done so; (4) the production of all privilege logs; (5) third-party

discovery with the exception of depositions; (6) pending orders and motions; and (7) any discovery

sought or motion made for cause and with leave of the Court. Expedited briefing is needed to




                                                -3-
Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 5 of 7 PageID #: 28093




mitigate the waste of yet more resources on responding to additional discovery that may be served

imminently.

                                          CONCLUSION

        For these reasons, Defendants respectfully request that this Court enter these deadlines: (1)

Plaintiffs’ response brief in opposition to Defendants’ Motion to Stay is due 7 days after the filing

of the Motion to Stay; (2) Defendants’ reply brief is due 4 days after the filing of the response; and

(3) any sur-reply is due 4 days after the filing of the reply.



Date: October 5, 2021                           Respectfully submitted,

                                                McGUIREWOODS LLP

                                                /s/ Thomas M. Farrell
                                                Thomas M. Farrell
                                                TX Bar No. 06839250
                                                McGuireWoods LLP
                                                JPMorgan Chase Tower
                                                600 Travis Street
                                                Suite 7500
                                                Houston, TX 77002-2906
                                                Tel: 713-353-6677
                                                Fax: 832-214-9933
                                                Email: tfarrell@mcguirewoods.com

                                                Brian D. Schmalzbach (pro hac vice)
                                                Jeremy S. Byrum (pro hac vice)
                                                McGuireWoods LLP
                                                Gateway Plaza
                                                800 East Canal Street
                                                Richmond, VA 23219-3406
                                                Tel: 804-775-4746
                                                Fax: 804-698-2304
                                                Email: bschmalzbach@mcguirewoods.com
                                                Email: jbyrum@mcguirewoods.com

                                                Benjamin L. Hatch (pro hac vice)
                                                McGuireWoods LLP
                                                2001 K Street N.W.
                                                Suite 400


                                                 -4-
Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 6 of 7 PageID #: 28094




                                    Washington, DC 20006-1040
                                    Tel: 757-640-3727
                                    Fax: 757-640-3947
                                    Email: bhatch@mcguirewoods.com

                                   Anne L. Doherty (pro hac vice)
                                   McGuireWoods LLP
                                   200 North Tryon Street
                                   Suite 3000
                                   Charlotte, NC 28202
                                   Tel: 704-373-4633
                                   Fax: 704-805-5014
                                   Email: adoherty@mcguirewoods.com

                                    Attorneys for The Boeing Company



                                    NORTON ROSE FULBRIGHT US LLP

                                    /s/ Michael A. Swartzendruber
                                    Michael A. Swartzendruber (Lead Counsel)
                                    State Bar No. 19557702
                                    Jason K. Fagelman
                                    State Bar No. 00796525
                                    James V. Leito IV
                                    State Bar No. 24054950
                                    Philip A. Tarpley
                                    State Bar No. 24098501
                                    2200 Ross Ave., Suite 3600
                                    Dallas, TX 75201
                                    Telephone: (214) 855-8000
                                    Facsimile: (214) 855-8200
                                    michael.swartzendruber@nortonrosefulbright.com
                                    jason.fagelman@nortonrosefulbright.com
                                    james.leito@nortonrosefulbright.com
                                    philip.tarpley@nortonrosefulbright.com

                                    Geraldine W. Young
                                    State Bar No. 24084134
                                    1301 McKinney St., Suite 5100
                                    Houston, TX 77010
                                    Telephone: (713) 651-5151
                                    Facsimile: (713) 651-5246
                                    geraldine.young@nortonrosefulbright.com

                                    Attorneys for Southwest Airlines Co.


                                     -5-
Case 4:19-cv-00507-ALM Document 474 Filed 10/05/21 Page 7 of 7 PageID #: 28095




                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2021, a true and correct copy of the above was served

to counsel through the Eastern District of Texas’s CM/ECF system.

                                               /s/ Thomas M. Farrell
                                               Thomas M. Farrell


                              CERTIFICATE OF CONFERENCE

       I hereby certify that counsel for all Parties have complied with the meet and confer

requirement in Local Rule CV-7(h), and counsel for Boeing (Thomas Farrell) and for Southwest

(Michael Swartzendruber) met and conferred with counsel for Plaintiffs (Yavar Bathaee), in good

faith by telephone on October 4, 2021, on all the issues raised in this motion. I further certify that

Plaintiffs stated that they take no position on the relief requested in this motion.

                                               /s/ Thomas M. Farrell
                                               Thomas M. Farrell




                                                 -6-
